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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

DONNA CURLING, ET AL.

         Plaintiffs,

v.                                     CIVIL ACTION NO.: 1:17-cv-02989-AT

BRAD RAFFENSPERGER, ET AL.

         Defendants.



                  NOTICE OF INTENT TO FILE REPLY BY
                   NONPARTY CATHLEEN A. LATHAM


       COMES NOW Cathleen Latham, a nonparty to this action, and files this

Notice of Intent to File Reply to Plaintiffs’ Opposition to her Motion to Quash,

showing this Court as follows:


     1. On August 30, 2022, Plaintiffs filed their response to Nonparty Cathleen

        Latham’s Motion to Quash and for Attorney’s Fees, which was filed

        August 14, 2022;

     2. Under Rule 7.1(C), a reply to a response to a motion shall be permitted

        but is not required;
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   3. A reply to Plaintiffs’ Response is necessary to clarify the actual record

      and to assist the Court in adjudicating this matter;

   4. Because a reply is optional, the undersigned wanted to notify the Court

      of the need for and their intent to file such a reply in this matter.


Dated: September 1, 2022             Respectfully submitted,
                                     CHEELEY LAW GROUP, LLC

                                     /s/ Robert D. Cheeley
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                                     Counsel for Nonparty Cathleen Latham




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                        CERTIFICATE OF SERVICE

      I certify that today I filed the foregoing MOTION TO QUASH

SUBPOENAS AND FOR ATTORNEY’S FEES AND COSTS BY NONPARTY

CATHLEEN LATHAM via the Court’s CM/ECF system, which automatically

serves all counsel of record.



Dated: September 1, 2022

                                   /s/ Holly A. Pierson
                                   Holly A. Pierson
                                   Georgia Bar No. 579655




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